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 1   DAVID A. HUBBERT
     Acting Assistant Attorney General
 2
     JONATHAN M. HAUCK
 3   Trial Attorney, Tax Division
     U.S. Department of Justice
 4   P.O. Box 683
     Washington, D.C. 20044
 5   202-616-3173 (v)
     202-307-0054 (f)
 6   jonathan.m.hauck@usdoj.gov

 7   Attorney for the United States

 8                                           UNITED STATES DISTRICT COURT
                                                  DISTRICT OF NEVADA
 9

10    UNITED STATES OF AMERICA,

11                    Plaintiff,                                     Case No. 2:21-cv-01951-JCM-DJA

12                    v.
                                                                     STIPULATION AND PROPOSED
13    CHAO CHEN, aka “EDWIN CHEN,” ZIQUN                             ORDER REGARDING RELATIVE
      CHEN, JIE ZHU, ERIN CHAN, NANCY                                PRIORITY BETWEEN PLAINTIFF
14    KAWAMOTO, and REPUBLIC SILVER                                  THE UNITED STATES OF
      STATE DISPOSAL, Inc., dba REPUBLIC                             AMERICA AND DEFENDANT
      SERVICES                                                       REPUBLIC SILVER STATE
15
                                                                     DISPOSAL, Inc., dba REPUBLIC
                       Defendants.                                   SERVICES
16

17
               Plaintiff, the United States of America, and defendant, Republic Silver State Disposal,
18
     Inc., dba Republic Services (“Republic”) agree as follows:
19
               1.          This is a civil action brought by the United States of America to foreclose federal
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     tax liens against certain real property located in Clark County, Nevada, at 937 Center Street,
21
     Henderson, Nevada 89015 (the Property), and is more particularly described as follows:
22

23
      Stipulated As To Priority Between United States And   1                   U.S. DEPARTMENT OF JUSTICE
      Republic Silver State Disposal, Inc., dba Republic                        Tax Division, Western Region
      Services And Proposed Order                                               P.O. Box 683
      (Case No. 2:21-cv-01951-JCM-DJA)                                          Washington, D.C. 20044
                                                                                Telephone: 202-616-3173
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 1                       Lot Two (2) in Block One (1) of the SUNRISE SUBDIVISION
                         NO. 1B, as shown by the map thereof on file in Book 7 of Plats,
 2                       Page 26, in the Office of the County Recorder, Clark County,
                         Nevada.
 3                       A.P.N.:179-08-716-002

 4             2.        Republic was named as a defendant pursuant to the requirements of 26 U.S.C. §

 5   7403(b) because it may claim an interest in the Property. The United States claims no monetary

 6   relief against Republic in this action.

 7             3.        Republic, through its undersigned counsel, received a copy of the United States’

 8   Complaint (ECF No. 1) and a Summons via email on October 29, 2021. Republic waives formal

 9   service of the Summons and Complaint and agrees that this Court has jurisdiction over the res of

10   the Property.

11             4.        Republic does not challenge the sums secured by, or the validity of, the Notices of

12   Federal Tax Lien as alleged in paragraphs 12, 13, and 14 of the Complaint.

13             5.        Republic does not challenge that the Property is encumbered by the United States’

14   Notices of Federal Tax Lien filed with the Clark County Recorder on September 22, 2016, as

15   alleged in paragraphs 12, 13, and 14 of the Complaint.

16             6.        Republic’s interest in the Property, based upon the non-payment of fees pursuant

17   to Nevada Revised Statutes 444.520. Republic’s interest was recorded with the Clark County

18   Recorder December 21, 2016.

19             7.        The United States and Republic agree that the United States’ interest in the

20   Property is superior to, and has priority over, Republic’s interest in the Property.

21             8.        Republic does not object to the issuance of final order or decree permitting the

22   United States to enforce its tax liens referenced above by way of sale of the Property.

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      (Case No. 2:21-cv-01951-JCM-DJA)                                        Washington, D.C. 20044
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 1             9.        In the event that the Court permits the sale of the Property, it will be sold free and

 2   clear of all liens of record and free of any interest Republic has in the Property, with the liens and

 3   Republic’s interest to attach to the proceeds of the sale in the same amount and with the same

 4   priority that they had against the Property. The proposed Order of Judicial Sale shall provide that

 5   the sale proceeds shall be distributed in accordance with priority as agreed in paragraph seven (7)

 6   above. If the affected parties cannot stipulate to the amount of Republic’s interest or claim to the

 7   proceeds of the sale, the Court may then issue subsequent orders requiring additional written

 8   briefing and/or hold evidentiary or other hearings as it may deem necessary to determine the

 9   appropriate amount of Republic’s claim.

10             10.       The United States and Republic will not seek an award of their respective costs

11   related to this litigation, including any possible attorney's fees, from the Court.

12             11.       Unless or until otherwise ordered by the Court, Republic is excused from further

13   participation in this action, appearing in Court, or otherwise asserting its claim in this case.

14             12.       Republic will be bound by the judgment in this case, which shall incorporate the

15   terms of this stipulation.

16   //

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      Stipulated As To Priority Between United States And   3                   U.S. DEPARTMENT OF JUSTICE
      Republic Silver State Disposal, Inc., dba Republic                        Tax Division, Western Region
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 1             13.       The United States and Republic jointly request the Court to enter the following

 2   proposed order

 3

 4   Dated this 19th day of November 2021.

 5   DAVID A HUBBERT
     Deputy Assistant Attorney General                          WILLIAMS STARBUCK
 6
     /s/ Jonathan Hauck                                         /s/ Drew Starbuck
 7   JONATHAN M. HAUCK                                          DREW STARBUCK
     Trial Attorney, Tax Division                               612 So. 10th St.
 8   U.S. Department of Justice                                 Las Vegas, NV 89101
     P.O. Box 683                                               (702) 320-7755 (work)
 9   Washington, D.C. 20044                                     dstarbuck@dhwlawlv.com
     202-616-3173 (v)
10   202-307-0054 (f)                                           * Permission to enter e-signature granted by
     Jonathan.m.hauck@usdoj.gov                                 email dated November 18, 2021
11

12                                                              Attorney for Republic Silver State Disposal,
                                                                Inc.
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      Stipulated As To Priority Between United States And   4                  U.S. DEPARTMENT OF JUSTICE
      Republic Silver State Disposal, Inc., dba Republic                       Tax Division, Western Region
      Services And Proposed Order                                              P.O. Box 683
      (Case No. 2:21-cv-01951-JCM-DJA)                                         Washington, D.C. 20044
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 1

 2                                  Order Approving Stipulation

 3      The foregoing Stipulation is approved.

 4

 5

 6   It is so ordered.

 7   Dated November
           this _______
                      19,day of _____________, 20__.
                          2021.

 8

 9
                                                       JAMES C. MAHAN
10                                                     UNITED   STATES
                                                       United States      DISTRICT
                                                                     District Court JUDGE

11   Submitted by:

12   DAVID A. HUBBERT
     Deputy Assistant Attorney General
13
     JONATHAN M. HAUCK
14   Trial Attorney, Tax Division
     U.S. Department of Justice
15   P.O. Box 683
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            Case 2:21-cv-01951-JCM-DJA Document 4
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 1
                                      CERTIFICATE OF SERVICE
 2
            I hereby certify that on this 19th day of November, 2021, I filed the foregoing documents
 3   on the Court’s e-filing system, which will automatically serve CM/ECF participants, and caused
     the mailing of the documents by first-class mail, postage prepaid, to the following persons:
 4

 5   Drew Starbuck
     612 So. 10th St.
 6   Las Vegas, NV 89101

 7   Attorney for Republic Silver State Disposal, Inc

 8                                                          /s/ Jonathan Hauck
                                                            JONATHAN M. HAUCK
 9                                                          Trial Attorney
                                                            United States Department of Justice
10                                                          Tax Division

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